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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

 ---------------------------------------------X :
 KIM PAYTON-FERNANDEZ,                          : Case No.: 1:22-cv-00608-NLH-AMD
 LAVERN COLEMAN, and DARNIEL                    :
 WILLIAMS, Individually and on                  :
 Behalf of All Other Persons Similarly          :
 Situated,                                      :
                                                :
                         Plaintiffs,            :
                                                :
                -against-                       :
                                                :
 BURLINGTON STORES, INC.,                       :
 BURLINGTON COAT FACTORY                        :
 WAREHOUSE CORPORATION,                         :
 BURLINGTON COAT FACTORY                        :
 INVESTMENT HOLDINGS, INC.,                     :
 and BURLINGTON COAT                            :
 FACTORY HOLDINGS, INC.,                        :
                                                :
                          Defendants.           :
 ---------------------------------------------X :

 NOTICE OF PLAINTIFFS’ UNOPPOSED MOTION FOR APPROVAL OF
 COLLECTIVE ACTION SETTLEMENT AGREEMENT AND RELEASE

       PLEASE TAKE NOTICE that upon the Declaration of Michael A.

Galpern, dated September 21, 2022, together with the exhibits annexed thereto;

and the accompanying memorandum of law, Plaintiffs, by and through their

undersigned counsel, shall jointly move this Court, before the Honorable Ann

Marie Donio, on October 17, 2022, or soon thereafter as same may be heard, in the

United States District Court for the District of New Jersey, Camden Vicinage,
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Mitchell H. Cohen Building & U.S. Courthouse, 4th & Cooper Streets, Courtroom

3B, Camden, New Jersey 08101, for an Order as follows: (i) approving the

proposed collective action settlement (“Settlement”) set forth in the Settlement

Agreement (“Settlement Agreement”), attached as Exhibit A to the Declaration of

Michael A. Galpern; (ii) conditionally certifying the proposed FLSA Collective,

for settlement purposes only, under 28 U.S.C. 216(b); (iii) approving the expense

and fee request in the amounts of $18,443.21 and $3,281,556.88, respectively; (iv)

approving the service awards for the three named Plaintiffs in the amount $10,000

each; and (v) approving payment of the Settlement Administrator’s costs.

Dated: Rye Brook, NY                   KLAFTER LESSER, LLP
       September 21, 2022
                                       By: s/ Seth R. Lesser
                                       Seth R. Lesser
                                       Christopher Timmel
                                       KLAFTER LESSER LLP
                                       Two International Drive, Suite 350
                                       Rye Brook, New York 10573
                                       Telephone: (914) 934-9200
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                                       Michael A. Galpern
                                       JAVERBAUM WURGAFT HICKS KAHN
                                       WIKSTROM & SININS
                                       Laurel Oak Corporate Center
                                       1000 Haddonfield-Berlin Road
                                       Suite 203
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                                        Attorneys for Plaintiff and
                                        The Proposed Settlement Collective


                          CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on September 21, 2022, the foregoing

was electronically filed with the Clerk of the Court using the CM/ECF system which

sends notification of such filing to all counsel of record.

                                            s/ Seth R. Lesser
                                            Seth R. Lesser




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